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United States District Court

 
 

 

 

       
  

SOUTHERN DISTRICT OF CALIFORNIA NOV OF 2018
Se CLERK, U.S. DISTRICT COURT

 

Meet” Eiomey 5 ER
UNITED STATES OF AMERICA OUTHERN DISTRICT OF CALIFORNIA

BY ! p
WARRANT FOR ARRESH ee

 

Vv.

Morgan Rockcoons, aka "Morgan Rockwell," aka
"Metaballo"

Case Number: 17cr3690-AJB

 

HNOTFOR PUBLIOHE-

 

To: The United States Marshal
and any Authorized United States Officer

YOU ARE HEREBY COMMANDED tc arrest Morgan Rockcoons

Name

and bring him or her forthwith to the nearest magistrate to answer a(n)

Indictment [[] Information [] Complaint [[] Order of Court [[] Violation Notice [7] Probation Violation Petition

[| Pretrial Violation c
charging him or her with (brief description of offense):

    
   

 

 

 

 

 

 

 

 

 

 

 

ee 6
C2 re 2)
18:1956(a)(3)(B) - Laundering of Monetary Instruments \t nS a 3
18:1960(a) - Operation of Unlicensed Money Transmitting Business \e ee
18:1343 - Wire Fraud | v =
18:981(a)(1)(C), 982; 28:2461(c) - Criminal Forfeiture b: eae
Qu = 5
Nig _
Of =
In violation of Title _ See Above cee:
John Morrill " Clerk’ gfithe- €Gurt
Name of Issuing Officer 2 Title of Issuing Officer
s/ J. Mueller J AVI CLALELLN ~ October 24, 2018 at San Diego, California
Signature of Deputy Date and Location
Bail fixed at $ ~~ No Bail by The Honorable Ruben B. Brooks
Name of Judicial Officer
RETURN
This warrant was received and executed with the arrest of the above-named defendant at
DATE RECEIVED NAME AND TITLE OF ARRESTING OFFICER SIGNATURE OF ARRESTING OFFICER

 

DATE OF ARREST

 

 

 

 

 

 
